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                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                        COUNTY OF SARPY v. CITY OF GRETNA
                                                Cite as 309 Neb. 320



                        County of Sarpy, a body corporate and politic,
                           appellee, v. City of Gretna, a Nebraska
                             municipal corporation, appellant.
                                                    ___ N.W.2d ___

                                           Filed May 28, 2021.     No. S-20-330.

                 1. Summary Judgment: Appeal and Error. In reviewing a summary
                    judgment, an appellate court views the evidence in the light most
                    favorable to the party against whom the judgment is granted and
                    gives the party the benefit of all reasonable inferences deducible from
                    the evidence.
                 2. Annexation: Ordinances: Equity. An action to determine the validity
                    of an annexation ordinance and enjoin its enforcement sounds in equity.
                 3. Equity: Appeal and Error. On appeal from an equity action, an appel-
                    late court decides factual questions de novo on the record and, as to
                    questions of both fact and law, is obligated to reach a conclusion inde-
                    pendent of the trial court’s determination.
                 4. Annexation: Agriculture. The issue of whether annexed territory is
                    agricultural land that is rural in character is a question of law.
                 5. Summary Judgment: Expert Witnesses: Testimony. A conflict of
                    expert testimony regarding an issue of fact establishes a genuine issue
                    of material fact which precludes summary judgment.
                 6. Expert Witnesses. Two experts coming to different legal conclusions on
                    the same issue does not create a material issue of fact.
                 7. Municipal Corporations: Annexation: Agriculture. Neb. Rev. Stat.
                    § 17-407(2) (Cum. Supp. 2020) does not prohibit annexation of all
                    agricultural lands, but only those agricultural lands which are rural in
                    character. Lands may be currently utilized in an agricultural fashion and
                    still not be rural in character.
                 8. Annexation: Words and Phrases. The word “rural” is defined as of or
                    pertaining to the country as distinguished from a city or town, and the
                    word “urban” is defined as of or belonging to a city or town.
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           Nebraska Supreme Court Advance Sheets
                    309 Nebraska Reports
                 COUNTY OF SARPY v. CITY OF GRETNA
                         Cite as 309 Neb. 320
 9. Ordinances: Proof. The burden is on the one who attacks an ordinance,
    valid on its face and enacted under lawful authority, to prove facts to
    establish its invalidity.
10. Municipal Corporations: Annexation. To determine whether lands
    are urban or suburban, or rural, the test is whether a city has arbitrarily
    and irrationally used the power granted therein to include lands entirely
    disconnected, agricultural in character, and bearing no rational relation
    to the legitimate purposes of annexation.
11. Annexation: Agriculture. The use of land for agricultural purposes
    does not necessarily mean it is rural in character. It is the nature of its
    location as well as its use which determine whether it is rural or urban
    in character.
12. Municipal Corporations: Annexation. The annexation of land by a
    city is a legislative matter. However, courts have the power to inquire
    into and determine whether the conditions exist which authorize the
    annexation thereof.
13. Annexation. It is not for the courts to determine what portions of land
    may be properly annexed, because the fixing of boundary lines under
    this authority is a legislative act.

  Appeal from the District Court for Sarpy County: Stefanie
A. Martinez, Judge. Reversed.

  Jeff C. Miller, Duncan A. Young, and Keith I. Kosaki, of
Young &amp; White Law Offices, for appellant.

   Kayla N. Hathcote and Gage R. Cobb, Deputy Sarpy County
Attorneys, and Stephen Hueber, Senior Certified Law Student,
for appellee.

  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.

   Funke, J.
   This is an action filed by the County of Sarpy, Nebraska,
to determine the validity of two annexation ordinances and
a zoning extension ordinance adopted by the City of Gretna,
Nebraska. The district court granted Sarpy County’s motion
for summary judgment, denied Gretna’s motion for summary
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
              COUNTY OF SARPY v. CITY OF GRETNA
                      Cite as 309 Neb. 320
judgment, and declared the ordinances invalid. Gretna appeals,
arguing that the ordinances are valid, because Gretna did
not annex agricultural lands that are rural in character. We
find Gretna’s argument to have merit. Therefore, we reverse
the order of the district court and declare the ordinances to
be valid.

                        BACKGROUND
   Gretna is a city of the second class under Neb. Rev. Stat.
§ 17-101 (Cum. Supp. 2020), located entirely within Sarpy
County, in southeastern Nebraska. On November 21, 2017, the
Gretna City Council adopted ordinances Nos. 2003 and 2004,
which together annexed 2,953 acres contiguous or adjacent
to the municipal boundaries. On the same date, the Gretna
City Council adopted ordinance No. 2005, which extended
Gretna’s extraterritorial zoning jurisdiction as a result of the
annexations.
   Ordinance No. 2003 annexed contiguous territory to the east
and south of Gretna’s existing corporate limits. This territory
included undeveloped parcels; tax lots; Sanitary and Improve­
ment District (SID) No. 258 of Sarpy County; four developed
residential subdivisions consisting of Covington, Forest Run,
Lyman Highlands, and Green Acres Estates; and three single-
lot subdivisions of Pumpkin Hollow, Mintken’s Addition, and
Lot 2 Fenton Addition Replat 2. Ordinance No. 2003 also
included Vala’s Pumpkin Patch (Vala’s) and adjacent parcels
south of Interstate 80 (I-80).
   Ordinance No. 2004 annexed territory located further east,
including some undeveloped parcels; tax lots; and SID Nos.
48, 176, 202, 250, 251, and 282 of Sarpy County. Ordinance
No. 2004 also annexed residential subdivisions and commercial
and industrial developments located further east, consisting of
Country Estates; Harder Subdivision Replat 1; M&amp;M Acres;
The Hill; Wicks Southpointe; Lake Ridge Estates; Murray
Sapp; Murray Sapp Replat 1; 370 Storage; SWN Investments
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
             COUNTY OF SARPY v. CITY OF GRETNA
                     Cite as 309 Neb. 320
Nos. 2 through 7; Zapata; Meadowlark Subdivision; B-4
Corners Nos. 1, 4, 5, 7, 9, 11, and 12; Sapp Brothers Replat;
Lakeview South; and Lakeview South Nos. 3 through 7. In
addition, ordinance No. 2004 annexed five subdivisions to
the west and south of Gretna’s corporate limits, consisting
of Lincoln Place, Truelson Subdivision, Valley View Estates,
Standing Stone, and Willow Park.
   Prior to Gretna’s adoption of the ordinances, on September
12, 2017, the board of commissioners for Sarpy County adopted
Sarpy County’s comprehensive plan “for the build-out of Sarpy
County.” The plan stated that Sarpy County is the fastest
growing county in the State of Nebraska with the third largest
population, behind only Douglas County and Lancaster County,
and that by 2040, Sarpy County’s population was projected to
increase by 75 percent.
   On September 28, 2017, Gretna issued an annexation study
and plan for furnishing municipal services. The study noted
substantial economic development and growth within the city
and surrounding areas. According to the study, the territory
annexed under Gretna’s plan “is either in close proximity to
the current corporate limits or in the middle of the City of
Gretna’s future growth area.” Both ordinance No. 2003 and
ordinance No. 2004 contained an I-80 gateway and community
entrance to the city. Ordinance No. 2003 contained a planned
I-80 interchange between South 186th and South 192d Streets.
Ordinance No. 2004 contained the Highway 370 corridor,
which was the eastern entrance for the city and connected to
I-80. Gretna designated both community entrances as special
character areas in its 2017 comprehensive plan update. Under
Gretna’s plan, the I-80 interchange in ordinance No. 2003 will
initiate the development of the South 192d Street corridor
to the north and lead to development east and west on the
Highway 370 corridor. Gretna found that annexing these areas
will promote growth, increase the city’s population and tax
base, and preserve the city’s future growth areas.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
              COUNTY OF SARPY v. CITY OF GRETNA
                      Cite as 309 Neb. 320
   On December 14, 2017, Sarpy County brought this action
in the district court for Sarpy County, seeking to enjoin
the ordinances adopted by Gretna and have them declared
invalid. Sarpy County contended that because the annexed
area includes 22 parcels with agricultural land that is rural in
character, Gretna exceeded its annexation authority under Neb.
Rev. Stat. § 17-407(2) (Cum. Supp. 2020) when it adopted
ordinances Nos. 2003 and 2004. Section 17-407(2) authorizes
a city of the second class to annex contiguous or adjacent lands
which are “urban or suburban in character” and prohibits the
annexation of “agricultural lands which are rural in character.”
Sarpy County claimed that the specified 22 parcels were almost
exclusively unplatted, with rural roads and no sewer connec-
tion. Sarpy County claimed that because ordinances Nos. 2003
and 2004 were invalid, Gretna’s extension of extraterritorial
zoning jurisdiction via ordinance No. 2005 was invalid.
   Gretna filed an answer which denied the allegations and
asserted that the ordinances and annexations were law-
ful, valid, and in compliance with § 17-407 and all other
applicable statutes and laws. Sarpy County filed an amended
complaint, and Gretna filed an amended answer. Thereafter,
each party moved for summary judgment. The issue before
the court was whether, under § 17-407(2), any of the contested
22 parcels qualified as agricultural lands which are rural in
character.
   Each party submitted an annotated statement of undisputed
facts. The record established that ordinance No. 2003 con-
tained contested parcels 1 through 11 and 19 through 22, which
represented approximately 655 of the 1,075 acres annexed
under ordinance No. 2003. Vala’s, consisting of six parcels
and approximately 400 acres, was included within the chal-
lenged parcels in ordinance No. 2003. Parcels 12 through
18 are located within ordinance No. 2004 and represented
approximately 373 of the 1,878 acres annexed under ordi-
nance No. 2004.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
              COUNTY OF SARPY v. CITY OF GRETNA
                      Cite as 309 Neb. 320



                        EXHIBIT 16-A

   For purposes of summary judgment disposition, the parties
agreed that all of the contested parcels contain undeveloped
land used for agricultural purposes and that all of the contested
parcels were accessed by unimproved roads and lacked con-
nections to municipal water and sewer services. Gretna has
planned for future street, interchange, and highway improve-
ments for the contested areas and has planned to provide
water, sewer, and utilities services to the contested areas.
However, the timeframe for these plans will depend on future
development.
   All of the contested parcels were located in the Gretna
school district, which had grown in student population by
approximately 8 percent annually over the previous 11 years. A
seventh elementary school was projected to open in the fall of
2021 on the northeast corner of South 192d Street and Schram
Road, which abutted contested parcel 2 in exhibit 16-A, shown
above. Gretna submitted an affidavit from a certified planner,
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
              COUNTY OF SARPY v. CITY OF GRETNA
                      Cite as 309 Neb. 320
who stated that the school district’s growth in population, stu-
dent enrollment, and school buildings demonstrated that fami-
lies with children greatly desired the area and have moved into
the school district in large numbers.
   Gretna submitted an affidavit from Trenton J. Rengo, a
licensed appraiser, who stated that the highest and best use
of the contested parcels was for either residential acreages or
future subdivision development. According to Rengo, the fair
market value of the contested parcels, when used for future
development or residential acreages, was between $20,000 and
$40,000 per acre, as compared to an agricultural use value of
approximately $10,500 per acre.
   All of the contested parcels were designated with “green-
belt” special valuation status for property tax purposes under
Neb. Rev. Stat. §§ 77-201(3), 77-1343, and 77-1344 (Reissue
2018 &amp; Cum. Supp. 2020), for agricultural land and horticul-
tural land actively devoted to agricultural or horticultural pur-
poses which has value for purposes other than agricultural or
horticultural uses.
   On April 16, 2020, the district court issued its order grant-
ing Sarpy County’s motion for summary judgment and denying
Gretna’s motion for summary judgment. The court accepted
Sarpy County’s arguments that the contested parcels quali-
fied as agricultural land that is rural in character, because the
parcels were undeveloped and were being used for agricultural
purposes, the parcels would not be connected to municipal
services until development occurred, and the parcels received
greenbelt tax assessment status. The court found that none
of the contested parcels were currently being developed and
that while Gretna had substantially grown in recent years, the
growth had not trended in the general direction of the areas
which Gretna sought to annex. Lastly, because Gretna sought
to annex several SID’s, the court found that approval of annex-
ation would stifle development of the area. Accordingly, the
court invalidated ordinances Nos. 2003, 2004, and 2005.
   Gretna appeals. We granted bypass at the parties’ request.
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            Nebraska Supreme Court Advance Sheets
                     309 Nebraska Reports
                  COUNTY OF SARPY v. CITY OF GRETNA
                          Cite as 309 Neb. 320
                 ASSIGNMENTS OF ERROR
   Gretna assigns that the district court erred in (1) finding
that the contested parcels qualified as agricultural land that is
rural in character, (2) granting Sarpy County’s motion for sum-
mary judgment and invalidating the annexation ordinances and
zoning extension ordinance, and (3) failing to grant Gretna’s
motion for summary judgment and uphold the validity of
the ordinances.
                    STANDARD OF REVIEW
   [1] In reviewing a summary judgment, an appellate court
views the evidence in the light most favorable to the party
against whom the judgment is granted and gives the party
the benefit of all reasonable inferences deducible from the
evidence. 1
   [2-4] An action to determine the validity of an annexation
ordinance and enjoin its enforcement sounds in equity. 2 On
appeal from an equity action, an appellate court decides factual
questions de novo on the record and, as to questions of both
fact and law, is obligated to reach a conclusion independent of
the trial court’s determination. 3 The issue of whether annexed
territory is agricultural land that is rural in character is a ques-
tion of law. 4
                           ANALYSIS
  [5,6] In the form of competing motions for summary judg-
ment, the issue presented to the district court was whether
Sarpy County showed, under § 17-407(2), that Gretna annexed
agricultural land that is rural in character. Though the parties’
1
    SID No. 196 of Douglas Cty. v. City of Valley, 290 Neb. l, 858 N.W.2d 553    (2015).
2
    Id.; United States Cold Storage v. City of La Vista, 285 Neb. 579, 831
    N.W.2d 23 (2013); Swedlund v. City of Hastings, 243 Neb. 607, 501
    N.W.2d 302 (1993).
3
    Id.4
    See SID No. 196 of Douglas Cty., supra note 1.
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            Nebraska Supreme Court Advance Sheets
                     309 Nebraska Reports
                 COUNTY OF SARPY v. CITY OF GRETNA
                         Cite as 309 Neb. 320
experts provided conflicting testimony as to how the property
should be characterized, neither party contends that there are
any genuine issues of material fact as to how the area should
be characterized under the relevant statutory authority. A con-
flict of expert testimony regarding an issue of fact establishes
a genuine issue of material fact which precludes summary
judgment. 5 The key element of the rule is whether the experts
conflict on a question of fact or a question of law. 6 Two
experts coming to different legal conclusions on the same issue
does not create a material issue of fact. 7 Here, because neither
party contends that there are any genuine issues of material
fact as to how the area should be classified under the rel-
evant statutory authority and because our review of the record
confirms there are no triable issues of fact, this appeal solely
concerns a question of law, which we resolve independently of
the decision of the district court. Essentially, we must decide
whether Gretna has the authority to annex an area which is in
close proximity to developing areas and which is planned for
development, but is presently undeveloped and is being used
for agricultural purposes.
   [7,8] Section 17-407(2) provides that cities of the second
class may annex contiguous or adjacent lands which are urban
or suburban in character and prohibits the annexation of “agri-
cultural lands which are rural in character.” We have previously
recognized that this language does not prohibit annexation of
all agricultural lands, but only those agricultural lands which
are rural in character. 8 “[L]ands may be currently utilized in
an agricultural fashion and still not be rural in character.” 9 The
5
    Id.6
    Id.7
    Id.8
    See, e.g., Bierschenk v. City of Omaha, 178 Neb. 715, 135 N.W.2d 12    (1965).
9
    Voss v. City of Grand Island, 186 Neb. 232, 236, 182 N.W.2d 427, 430
    (1970).
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             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                   COUNTY OF SARPY v. CITY OF GRETNA
                           Cite as 309 Neb. 320
word “rural” is defined as “of or pertaining to the country as
distinguished from a city or town,” and the word “urban” is
defined as “of or belonging to a city or town.” 10
   [9,10] The burden is on the one who attacks an ordinance,
valid on its face and enacted under lawful authority, to prove
facts to establish its invalidity. 11 To determine whether lands
are urban or suburban, or rural, the test is “‘whether a city has
arbitrarily and irrationally used the power granted therein to
include lands entirely disconnected, agricultural in character,
and bearing no rational relation to the legitimate purposes
of annexation.’” 12
   Gretna argues that Sarpy County failed to prove that the
ordinances are invalid. Gretna argues that while there is no
dispute that the contested parcels were undeveloped and were
being used for agricultural purposes, the location of the area
and its proximity to growth areas show that the annexed terri-
tory is urban or suburban in character. Upon de novo review,
we conclude that Gretna’s arguments are well founded. The
annexed territory does bear a rational relation to legitimate
purposes of annexation, and the district court erred in finding
that the annexed territory contained agricultural land that is
rural in character.
   [11] In its determination, the district court characterized
the contested areas primarily based on current uses. In its
appellee brief, Sarpy County’s principal defense of the court’s
decision is that the parcels are currently undeveloped and are
being used for agricultural purposes. However, this argument
is flawed, because this court has previously stated that “‘[t]he
use of land for agricultural purposes does not necessarily mean
it is rural in character. It is the nature of its location as well
10
     Wagner v. City of Omaha, 156 Neb. 163, 168, 55 N.W.2d 490, 494 (1952).
11
     Id. Accord, Omaha Country Club v. City of Omaha, 214 Neb. 3, 332
     N.W.2d 206 (1983); Bierschenk, supra note 8.
12
     SID No. 196 of Douglas Cty., supra note 1, 290 Neb. at 10-11, 858 N.W.2d
     at 561, quoting Voss, supra note 9. See Wagner, supra note 10.
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             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                   COUNTY OF SARPY v. CITY OF GRETNA
                           Cite as 309 Neb. 320
as its use which determine[] whether it is rural or urban in
character.’” 13
   The district court primarily relied upon our 1952 decision
in Wagner v. City of Omaha. 14 In Wagner, property owners
challenged an ordinance which annexed unincorporated land
east of Omaha, Nebraska, near the Missouri River. The area
experienced standing water during wet seasons, but ordinarily
was dry and could be farmed. The area contained limited retail
and industry. The district court declared the ordinance invalid
and enjoined the city from enforcing it. We affirmed, because
“somewhere between 90 and 103 acres of the area sought to be
annexed is unplatted agricultural lands which are rural in char-
acter and over which the city did not have authority to extend
its boundary.” 15
   The district court here found that Gretna annexed agricul-
tural land that is rural in character, because, as in Wagner, the
contested parcels within ordinance No. 2003 were not platted
into lots, were not planned for any subdivisions, were not con-
nected to sewer and water services until development occurs,
and were being used for agricultural or horticultural purposes.
This analysis is correct to a point. However, under this court’s
precedent, further inquiry is required when examining the over-
all character of annexed territory.
   As Gretna set forth in its brief, in determining whether
agricultural land is rural in character, in addition to consider-
ing the annexed area’s current use, this court has considered
other factors such as an area’s proximity to growth areas, 16
including the “undisputed location, character, and degree of
13
     Omaha Country Club, supra note 11, 214 Neb. at 6, 332 N.W.2d at 208     (emphasis omitted). Accord, Voss, supra note 9; Sullivan v. City of Omaha,
     183 Neb. 511, 162 N.W.2d 227 (1968).
14
     Wagner, supra note 10.
15
     Id. at 170, 55 N.W.2d at 495.
16
     Swedlund, supra note 2; Sullivan, supra note 13.
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             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                   COUNTY OF SARPY v. CITY OF GRETNA
                           Cite as 309 Neb. 320
development of the land involved herein.” 17 In Voss v. City of
Grand Island, 18 we found that although the annexed territory
included isolated spots that were vacant and used for agricul-
tural purposes, the continuous development of the land and
surrounding areas was “clearly indicative and persuasive that
the land is urban and suburban in character and not rural in
character.” In Sullivan v. City of Omaha, 19 the city annexed an
irregular tract of land abutting the corporate limits, a portion
of which was used for agricultural purposes, had no improve-
ments, and had not been subdivided or platted. We found that
the challengers failed to meet their burden, because “[t]he
entire area being annexed goes through the heart of a rapidly
developing residential and industrial area.” 20
   Sarpy County does not contest that Gretna is rapidly devel-
oping, but argues that the trend of development has been to
the north and west, and not to the east and south, where the
contested parcels are located. Sarpy County therefore argues
this case is unlike Sullivan. This argument is insufficient to
overcome the area’s urban character.
   Under the relevant authority, there is no requirement for
Gretna to show that the annexed area goes through the heart
of a rapidly developing area. In the 70 years since our deci-
sion in Wagner, 21 we have repeatedly recognized that land
need not already be zoned and developed into a nonagricul-
tural use before it can be annexed. 22 We have noted that any
such construction of the annexation statutes would seriously
impair intelligent planning and coordination of the changeover
17
     Voss, supra note 9, 186 Neb. at 237, 182 N.W.2d at 430.
18
     Id.19
     Sullivan, supra note 13.
20
     Id. at 515, 162 N.W.2d at 230.
21
     Wagner, supra note 10.
22
     SID No. 196 of Douglas Cty., supra note 1; Voss, supra note 9; Sullivan,
     supra note 13.
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             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                  COUNTY OF SARPY v. CITY OF GRETNA
                          Cite as 309 Neb. 320
in the use of land for urban purposes. 23 Moreover, the statute
governing annexation does not require that an annexed territory
have regular boundaries, because cities do not tend to grow in
straight lines. 24
   Here, the district court failed to give sufficient consid-
eration to contemplated future development of the annexed
area. Under the city’s 2017 comprehensive plan update, the
proposed I-80 interchange at 192d Street and the existing
Highway 370 corridor are designated as community entrance
and special character areas and are expected to develop the
contested areas into the city’s future growth areas. The city,
the county, the state, and other governmental agencies all have
plans to develop the area, because it is the fastest growing area
in Nebraska. These are characteristics “belonging to a city”
and not “pertaining to the country” and are accordingly urban
or suburban in nature.
   In our most recent decision on this issue, SID No. 196 of
Douglas County v. City of Valley, 25 we rejected the challenger’s
argument that the city had annexed agricultural land that is
rural in character where there had been no residential develop-
ment on the property at the time of summary judgment. We
considered the evidence of contemplated future development 26
and concluded that the challenger’s argument failed to establish
that the city had exercised its annexation authority arbitrarily
and irrationally. We further concluded that the land in ques-
tion, at the time of annexation, did bear a “‘rational relation to
the legitimate purposes of annexation.’” 27 Likewise here, even
though the plans for development will take time, we are not
persuaded that the city has acted arbitrarily or irrationally.
23
     Id.24
     See Bierschenk, supra note 8.
25
     SID No. 196 of Douglas Cty., supra note 1.
26
     Id. See, also, Swedlund, supra note 2.
27
     SID No. 196 of Douglas Cty., supra note 1, 290 Neb. at 11, 858 N.W.2d
     at 561.
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             Nebraska Supreme Court Advance Sheets
                      309 Nebraska Reports
                  COUNTY OF SARPY v. CITY OF GRETNA
                          Cite as 309 Neb. 320
   There was evidence that development in the area was already
underway. All of the contested parcels are located within the
rapidly growing Gretna school district. Ten of the contested
parcels are located within 1 mile of a new elementary school
building to open in the fall of 2021 with 400 students enrolled.
In Bierschenk v. City of Omaha, 28 we found that although
portions of annexed territory were used for agricultural pur-
poses, evidence of residential growth in the form of parks,
schools, churches, and other public grounds showed that the
area was urban or suburban in character. Moreover, Gretna’s
appraiser, Rengo, stated that the future development or resi-
dential value of the annexed territory exceeded its agricultural
use value. In our decision in Holden v. City of Tecumseh, 29
we evaluated land that was principally used for agricultural
purposes, but had a residential or commercial use value which
exceeded its agricultural use value, and found that develop-
ment had occurred which made the area urban or suburban in
character rather than rural. We do not suggest that increased
property values are the only factor to consider in determining
whether property is urban or suburban or rural in character.
Rather, multiple factors such as current use, location, and
future plans for development should be considered in conjunc-
tion with property values to determine the overall character of
annexed land.
   Additionally, Sarpy County failed to show that Vala’s is
rural in character. The record shows that Vala’s commenced
operations in the early 1990’s as a seasonal commercial and
recreational facility operating from September to November
each year. Since its beginnings, Vala’s has expanded its opera-
tions to involve over 100 buildings, structures, and attractions,
as well as 4,964 parking spots. Pursuant to special use permits
issued by the county, Vala’s now runs multiple commercial
28
     Bierschenk, supra note 8.
29
     Holden v. City of Tecumseh, 188 Neb. 117, 195 N.W.2d 225 (1972), citing
     Voss, supra note 9, and Sullivan, supra note 13.
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                      309 Nebraska Reports
                  COUNTY OF SARPY v. CITY OF GRETNA
                          Cite as 309 Neb. 320
operations from May to November each year. In Plumfield
Nurseries, Inc. v. Dodge County, 30 we considered the annexa-
tion of an area with a nursery business, accessed by gravel
roads, which had never been platted. We found that the nursery,
although involved in agricultural pursuits in the same man-
ner as in some rural territories, was a business in the ordinary
sense and was urban in character. 31
   Adjacent to the south of Vala’s are parcels 19 through 22,
located south of I-80. Under § 17-407(2), the annexation
authority of a city of the second class includes “any contig­
uous or adjacent lands, lots, tracts, streets, or highways as are
urban or suburban in character and in such direction as may
be deemed proper.” 32 Parcels 19 through 22 are located within
1 mile south of the proposed future I-80 interchange at South
192d Street. Parcels 19 through 21 are zoned “AG-HC,” for
agricultural with a highway corridor overlay, and are currently
used for interim crop production. Parcel 22 is zoned “AGD,”
for agricultural development, and is currently used for interim
crop production and for operating a highway commercial busi-
ness which operates under a special use permit. Sarpy County’s
future land use plan designates these subject properties for
general commercial use.
   Parcel 19 is located within the Papillion Creek Watershed
and the Platte River Watershed. Parcels 20 through 22 are
located within the Papillion Creek Watershed. According to
Rengo, the subject properties are not located in a flood hazard
area. All public utilities are able to be extended to the prop-
erties within the Papillion Creek Watershed, and all utilities,
except for sewer, are able to be extended to the portion of
parcel 19 located in the Platte River Watershed. Rengo stated
30
     Plumfield Nurseries, Inc. v. Dodge County, 184 Neb. 346, 167 N.W.2d 560     (1969).
31
     Id.32
     See Sullivan, supra note 13.
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in his reports regarding each of these parcels that the proper-
ties contain no other known physical characteristics that would
limit development. Rengo opined that the maximal productive
use of the subject properties would be to develop for subdivi-
sion purposes, with demand.
   Having considered the present uses of the annexed territory,
as well as its contemplated future uses and existing plans for
development, we find that the annexed area is urban in char-
acter and that the ordinances are a lawful exercise of the city’s
annexation powers.
   For completeness, we address novel arguments raised by
Sarpy County and relied upon by the district court. Sarpy
County argues that the greenbelt tax assessment status of
the contested parcels render them rural in character. Under
§ 77-1344, land qualifies for special valuation if (a) the land
is located outside the corporate boundaries of any SID, city, or
village, unless it is in a conservation or preservation easement,
and (b) the land is agricultural or horticultural land. Sarpy
County refers to 350 Neb. Admin. Code, ch. 11, § 001.01
(2009), to argue that the purpose of greenbelt status is to pro-
vide protection for those persons who wish to continue work-
ing in agriculture. We find nothing in the law which leads us
to believe that the Legislature intended greenbelt tax assess-
ment status to function as a restriction on a city’s annexa-
tion authority. Rather, greenbelt status concerns a separate
legislative determination regarding taxation and market value.
Additionally, given the evidence of the Sarpy County assessor
that all agricultural parcels within Sarpy County have a market
value that is influenced by nonagricultural factors, we find no
reason why the greenbelt status of the contested parcels quali-
fies as particular evidence of rural character.
   [12,13] Lastly, the district court accepted Sarpy County’s
argument that annexation would eliminate SID’s in the area,
and would therefore limit resources available for development.
This argument is not relevant to the question of whether the
city acted within its annexation authority. The annexation of
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                  COUNTY OF SARPY v. CITY OF GRETNA
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land by a city is a legislative matter. 33 However, courts have
the power to inquire into and determine whether the conditions
exist which authorize the annexation thereof. 34 In doing so, it
is not for the courts to determine what portions of land may be
properly annexed, because the fixing of boundary lines under
this authority is a legislative act. 35
   Based upon all of the foregoing, Sarpy County has failed
to prove that the ordinances adopted by Gretna are invalid.
Gretna’s appeal has merit.
                      CONCLUSION
  The annexation ordinances and zoning extension ordinances
adopted by Gretna were valid under the relevant statutory
authority. The judgment of the district court should be and is
hereby reversed.
                                                   Reversed.
33
     Wagner, supra note 10.
34
     Id.
35
     Id.

   Cassel, J., dissenting.
   Because the “reach” of Gretna’s ordinances exceeds the
“grasp” authorized by state annexation law, 1 I would affirm
the district court’s judgment. Where any part of a municipal
annexation is of agricultural lands which are rural in character,
the entire ordinance must be invalidated, because the drawing
of boundary lines is a legislative act and a court has no author-
ity to revise the boundary line of a city, as extended by the
ordinance. 2
   The majority opinion fails to apply the principle here to agri-
cultural land. Particularly, tracts 19 through 22 are separated
 1
     See Neb. Rev. Stat. § 17-407(2) (Cum. Supp. 2020).
 2
     See, County of Sarpy v. City of Papillion, 277 Neb. 829, 765 N.W.2d 456     (2009); Wagner v. City of Omaha, 156 Neb. 163, 55 N.W.2d 490 (1952).
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from the other lands by the interstate highway, lie in the Platte
River Watershed and/or the Papillion Creek Watershed, lack
infrastructure or plans for development, are used for agricul-
ture, and remain largely untouched without any financially fea-
sible means of development. The majority’s characterization of
these tracts as urban or suburban seems to flow from the notion
that development is inevitable at some future time (despite
Gretna’s expert’s recognition that future development depends
upon “demand” that does not now exist). But that is not the
proper test and fundamentally departs from our case law, which
is driven by longstanding statutory language.
   Further, I am troubled by the majority opinion’s reliance on
a fleeting reference to increased property value in Holden v.
City of Tecumseh. 3 The Holden court’s decision was driven by
the peculiar growth of Tecumseh in an “L” shape around the
annexed tract. The reference there to value must be viewed
in that context. Here, Gretna has been growing away from,
not near or around, the contested parcels—especially tracts
19 through 22. Despite the majority’s attempt to disclaim its
opinion’s effect, it allows Gretna to justify its overreach by
citing increased property valuations—which exist around any
city’s limits—to annex rural agricultural land. This approach
paves the way for a city to expand in any direction it wants,
regardless of its directional development, by citing increased
property valuations.
   I respectfully dissent.
3
    Holden v. City of Tecumseh, 188 Neb. 117, 195 N.W.2d 225 (1972).
